 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-80892
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 6, 2018                           X /s/ Ginger McComb
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ginger McComb
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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        Case 18-80892-CRJ11                             Doc 16          Filed 04/06/18 Entered 04/06/18 10:18:54                   Desc Main
                                                                      Document      Page 1 of 37
 Fill in this information to identify the case:

 Debtor name            JIT Industries, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)               18-80892
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           319,153.74

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           319,153.74


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $         1,050,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           488,545.09


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,538,545.09




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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         Case 18-80892-CRJ11                                        Doc 16            Filed 04/06/18 Entered 04/06/18 10:18:54                                                              Desc Main
                                                                                    Document      Page 2 of 37
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-80892
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Peoples Bank of Alabama                                 Checking                                                                   $344.18




           3.2.     Bank Independent                                        Checking                                                                   $563.35



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $907.53
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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         Case 18-80892-CRJ11                            Doc 16         Filed 04/06/18 Entered 04/06/18 10:18:54                          Desc Main
                                                                     Document      Page 3 of 37
 Debtor         JIT Industries, Inc.                                                                    Case number (If known) 18-80892
                Name


           11a. 90 days old or less:                                 77,340.00    -                                    0.00 = ....                  $77,340.00
                                              face amount                                 doubtful or uncollectible accounts




           11b. Over 90 days old:                                    47,713.21    -                                   0.00 =....                    $47,713.21
                                              face amount                                 doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                    $125,053.21
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used    Current value of
                                                      physical inventory              debtor's interest          for current value        debtor's interest
                                                                                      (Where available)

 19.       Raw materials
           See Attached List                                                                          $0.00                                        $105,000.00



 20.       Work in progress
           Work in progess                                                                            $0.00                                         $10,000.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                    $115,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 2
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        Case 18-80892-CRJ11                             Doc 16           Filed 04/06/18 Entered 04/06/18 10:18:54                          Desc Main
                                                                       Document      Page 4 of 37
 Debtor         JIT Industries, Inc.                                                          Case number (If known) 18-80892
                Name


        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           See attached list                                                                $0.00                                           $1,025.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attached list                                                                $0.00                                           $2,600.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $3,625.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2010 Ford Transit Connect XLT                                          $0.00                                           $8,500.00


           47.2.     Goose Neck Trailer                                                     $0.00                                           $1,000.00


           47.3.     1999 Dodge Ram 3500                                                    $0.00                                           $5,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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        Case 18-80892-CRJ11                             Doc 16         Filed 04/06/18 Entered 04/06/18 10:18:54                  Desc Main
                                                                     Document      Page 5 of 37
 Debtor         JIT Industries, Inc.                                                          Case number (If known) 18-80892
                Name

 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            See Attached List                                                               $0.00                                         $59,850.00



 51.        Total of Part 8.                                                                                                          $74,350.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.jitindustries.com                                                           $0.00                                               $18.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer Lists and Mailing Lists                                                $0.00                                             $100.00



 64.        Other intangibles, or intellectual property
            Custom drawings used for each cylinder built
            over 15 years                                                                   $0.00                                             $100.00



 65.        Goodwill




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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        Case 18-80892-CRJ11                             Doc 16         Filed 04/06/18 Entered 04/06/18 10:18:54                  Desc Main
                                                                     Document      Page 6 of 37
 Debtor         JIT Industries, Inc.                                                         Case number (If known) 18-80892
                Name


 66.        Total of Part 10.                                                                                                             $218.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Damage to debtor's reputation and credit; Breach of
            fiduciary duty as partner; Breach of fiduciary duty as
            receiver                                                                                                                       Unknown
            Nature of claim          Commercial Tort Claim
            Amount requested                              $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

            Partnership contributions                                                                                                      Unknown
            Nature of claim
            Amount requested                                             $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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        Case 18-80892-CRJ11                             Doc 16         Filed 04/06/18 Entered 04/06/18 10:18:54                 Desc Main
                                                                     Document      Page 7 of 37
 Debtor         JIT Industries, Inc.                                                         Case number (If known) 18-80892
                Name


               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
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        Case 18-80892-CRJ11                             Doc 16         Filed 04/06/18 Entered 04/06/18 10:18:54                Desc Main
                                                                     Document      Page 8 of 37
 Debtor          JIT Industries, Inc.                                                                                Case number (If known) 18-80892
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $907.53

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $125,053.21

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $115,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $3,625.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $74,350.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $218.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $319,153.74           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $319,153.74




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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         Case 18-80892-CRJ11                                Doc 16          Filed 04/06/18 Entered 04/06/18 10:18:54                                         Desc Main
                                                                          Document      Page 9 of 37
INVENTORY/RAW MATERIALS
HEAD MATERIAL                          $15,000.00
PISTON MATERIAL                        $10,000.00
GLAND MATERIAL                         $10,000.00
SEAL MATERIAL                          $20,000.00
PRECISION BLOCKS                        $5,000.00
ROD CLEVIS                              $2,000.00
REUSABLE MATERIAL                      $10,000.00
WELDING ACCESSORIES                     $5,000.00
TIE ROD MATERIAL                        $5,000.00
ROD MATERIAL                            $8,000.00
BARREL MATERIAL                        $10,000.00
FLAT DUCTILE                            $5,000.00
FINISHED PARTS                              $0.00




   Case 18-80892-CRJ11   Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54   Desc Main
                               Document    Page 10 of 37
    Description               Interest   Market Value        Purchase Date

 OFFICE FURNITURE
            Desk                own            $250
        Office chairs           own            $250
    Conference Table            own            $75
    Conference Chairs           own            $50
         Credenza               own            $50
   Office Filing Cabinets       own            $250
         Shreader               own            $100

COMPUTER EQUIPMENT
     Computer Server            own            $100              5/21/2013
          Laptop                own            $100              3/17/2012
        Compac PC               own            $100              6/10/2011
    External Hard Drive         own            $200              11/17/2011
        Computers               own            $600              2/12/2010
   Quickbooks Software          own            $500              5/19/2003
        Keyboards               own            $100              2/17/2002
  Computer Components           own            $100              2/17/2002
         Monitor                own            $500              1/15/1900
          Printer               own            $200
        Telephones              own            $100




 Case 18-80892-CRJ11        Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54   Desc Main
                                  Document    Page 11 of 37
     Description                  Interest       Market Value        Purchase Date
 SHIPPING & ASSEMBY
       Peerless Band                own              $1,000             10/3/2001
        Paint Sprayer               own                $50              10/3/2001
         Test Stand                 own               $100              11/2/2001
       Instapak foam                own           NOT WORKING           6/1/2005
          Engraver                  own           NOT WORKING           6/1/2006
        Rolling Carts               own               $250              6/1/2006
       Rolling Ladder               own               $100              2/1/2002
        Hand Trucks                 own               $100              6/1/2003
      Forklift Extender             own                $50              4/1/2005
       Stabilizer Jacks             own                $50              3/1/2006

BUILDING EQUIPMENT
      Overhead Crane                 own             $3,000            10/15/2001
         Dock Plate                  own              $500              1/8/2002
        Paint Booth                  own         Added to Building      1/14/2002
      Overhead Crane                 own             $3,000             4/4/2002
        1 Ton Crane                  own             $3,000             5/1/2005
      Air Compressor                 own             $1,000             5/1/2005

        REPAIR
  Cylinder Teardown Table           own               $5,000            1/1/2008
   Granite Surface Plate            own                $500             6/1/2009
         Ram Boxes                  own               $1,000            1/2/1900

CABINETS & SHELVING
   Welding Tables Cabinet           own                 $50             5/1/2005
     Raw Material Rack              own                $250             5/1/2005
        Tool Holders                own               $1,000            3/23/2002
    Shop Filing Cabinets            own                $500             1/18/1900
       Pallet Shelving              own               $3,000
      Tooling Cabinets                                 $100

MACHINERY EQUIPMENT
       Hyd Power Unit                own              $250              11/4/2010
     Birmingham Lathe                own             $2,000             1/1/2008
       Cincinatti Lathe              own              $500              1/1/2003
  Birmingham DLEng Lathe             own             $5,000             1/6/2009
      2001 HAAS Lathe                own             $5,000             2/21/2013
        Landis Thread                own             $2,000            10/10/2001
       HAAS CNC MILL                 own             $10,000            4/1/2002
         Style 2 Mill                own             $1,000             1/1/2006
    Horizontal Boring Mill           own             $5,000             7/1/2007
          Enco Mill                  own              $500              1/1/2008



  Case 18-80892-CRJ11        Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54   Desc Main
                                   Document    Page 12 of 37
      Squaring Mill             own               $500
      Miller Welder             own               $500             8/1/2008
       Radial Drill             own               $500
         Forklift               own              $1,000

TOOLING MISCELLANIOUS
         Tooling                own              $2,500            2/17/2002




  Case 18-80892-CRJ11   Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54   Desc Main
                              Document    Page 13 of 37
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)             18-80892
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Danny Overbee                                  Describe debtor's property that is subject to a lien                 $350,000.00                       $0.00
       Creditor's Name
       c/o James Adams
       402 Moulton Street E
       Decatur, AL 35601
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   People's Bank of Alabama                       Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Creditor's Name                                Lease on building located at 2201 Highway 31
                                                      South, Hartselle, AL 35640
       801 2nd Avenue SW
       Cullman, AL 35055
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                         Desc Main
                                                              Document    Page 14 of 37
 Debtor       JIT Industries, Inc.                                                                     Case number (if know)      18-80892
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   People's Bank of Alabama                       Describe debtor's property that is subject to a lien                       Unknown              $0.00
       Creditor's Name                                Accounts, accounts receivable, general
       d/b/a Probilling & Funding                     intangibles and returned goods
       Service
       P.O. Box 2222
       Decatur, AL 35609
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Phillip Hill                                   Describe debtor's property that is subject to a lien                     $350,000.00            $0.00
       Creditor's Name

       3155 Hurricane Road
       New Market, AL 35761
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Rod Hill                                       Describe debtor's property that is subject to a lien                     $350,000.00            $0.00
       Creditor's Name

       3155 Hurricane Road
       New Market, AL 35761
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                      Desc Main
                                                              Document    Page 15 of 37
 Debtor       JIT Industries, Inc.                                                                     Case number (if know)       18-80892
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $1,050,000.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        G. Bartley Loftin III, Esq.
        Bradley Arant Boult Cummings LLP                                                                        Line   2.1
        200 Clinton Avenue W., Ste. 900
        Huntsville, AL 35801

        G. Bartley Loftin III, Esq.
        Bradley Arant Boult Cummings LLP                                                                        Line   2.5
        200 Clinton Avenue W., Ste. 900
        Huntsville, AL 35801

        G. Bartley Loftin III, Esq.
        Bradley Arant Boult Cummings LLP                                                                        Line   2.4
        200 Clinton Avenue W., Ste. 900
        Huntsville, AL 35801

        Kevin D. Heard, Esq.
        Heard Ary & Dauro LLC                                                                                   Line   2.1
        303 Williams Avenue, Ste. 921
        Huntsville, AL 35801

        Kevin D. Heard, Esq.
        Heard Ary & Dauro LLC                                                                                   Line   2.5
        303 Williams Avenue, Ste. 921
        Huntsville, AL 35801

        Kevin D. Heard, Esq.
        Heard Ary & Dauro LLC                                                                                   Line   2.4
        303 Williams Avenue, Ste. 921
        Huntsville, AL 35801




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                       Desc Main
                                                              Document    Page 16 of 37
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)           18-80892
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Alabama Department of Revenue                                        Contingent
           Income Tax Division                                                  Unliquidated
           P O Box 327460
                                                                                Disputed
           Montgomery, AL 36132
           Date(s) debt was incurred
                                                                             Basis for the claim:    2016 Taxes for JIT Military Sales
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $365,477.70
           American Express                                                     Contingent
           c/o Charles Nick Parnell III                                         Unliquidated
           641 South Lawrence Street
                                                                                Disputed
           Montgomery, AL 36102
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $76,051.81
           Capital One Visa                                                     Contingent
           c/o Portfolio Recovery Associates, LLC                               Unliquidated
           PO Box 12914
                                                                                Disputed
           Norfolk, VA 23541
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $47,015.58
           Harrison Gammons & Rawlinson                                         Contingent
           2430 L and N Drive SW                                                Unliquidated
           Huntsville, AL 35801                                                 Disputed
           Date(s) debt was incurred 07/10/17
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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          Case 18-80892-CRJ11                           Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                              Desc Main
                                                              Document    Page 17 of 37
 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Internal Revenue Service                                             Contingent
           PO Box 7346                                                          Unliquidated
           Philadelphia, PA 19101-7346
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    2016 Taxes for JIT Military Sales
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       488,545.09

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          488,545.09




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                              Desc Main
                                                              Document    Page 18 of 37
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-80892
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease on building
             lease is for and the nature of               located at 2201
             the debtor's interest                        Highway 31 South,
                                                          Hartselle, AL 35640
                  State the term remaining
                                                                                    People's Bank of Alabama
             List the contract number of any                                        801 2nd Avenue SW
                   government contract                                              Cullman, AL 35055


 2.2.        State what the contract or                   Lease on copier
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4 months
                                                                                    Xerox Corporation
             List the contract number of any                                        P.O. Box 802555
                   government contract                                              Chicago, IL 60680




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                               Desc Main
                                                              Document    Page 19 of 37
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-80892
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Danny Overbee                     c/o James Adams                                   American Express                   D
                                               402 Moulton Street E                                                                 E/F       3.2
                                               Decatur, AL 35601
                                                                                                                                    G




    2.2      Danny Overbee                     c/o James Adams                                   Capital One Visa                   D
                                               402 Moulton Street E                                                                 E/F       3.3
                                               Decatur, AL 35601
                                                                                                                                    G




    2.3      Danny Overbee                     c/o James Adams                                   Alabama Department                 D
                                               402 Moulton Street E                              of Revenue                         E/F       3.1
                                               Decatur, AL 35601
                                                                                                                                    G




    2.4      Danny Overbee                     c/o James Adams                                   Internal Revenue                   D
                                               402 Moulton Street E                              Service                            E/F       3.5
                                               Decatur, AL 35601
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 4
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          Case 18-80892-CRJ11                           Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                           Desc Main
                                                              Document    Page 20 of 37
 Debtor       JIT Industries, Inc.                                                     Case number (if known)   18-80892


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Danny Overbee                     c/o James Adams                              Phillip Hill                    D   2.4
                                               402 Moulton Street E                                                         E/F
                                               Decatur, AL 35601
                                                                                                                            G




    2.6      Danny Overbee                     c/o James Adams                              Rod Hill                        D   2.5
                                               402 Moulton Street E                                                         E/F
                                               Decatur, AL 35601
                                                                                                                            G




    2.7      Ginger McComb                     106 Lansdowne Drive                          Harrison Gammons &              D
                                               Madison, AL 35758                            Rawlinson                       E/F       3.4
                                                                                                                            G




    2.8      JIT Military Sales                26670 Success Drive SW                       American Express                D
                                               Madison, AL 35756                                                            E/F       3.2
                                                                                                                            G




    2.9      JIT Military Sales                26670 Success Drive SW                       Capital One Visa                D
                                               Madison, AL 35756                                                            E/F       3.3
                                                                                                                            G




    2.10     JIT Military Sales                26670 Success Road SW                        Alabama Department              D
                                               Madison, AL 35756                            of Revenue                      E/F       3.1
                                                                                                                            G




    2.11     JIT Military Sales                26670 Success Drive SW                       Internal Revenue                D
                                               Madison, AL 35756                            Service                         E/F       3.5
                                                                                                                            G




    2.12     Matthew                           106 Lansdowne Drive                          Harrison Gammons &              D
             McComb                            Madison, AL 35758                            Rawlinson                       E/F       3.4
                                                                                                                            G



Official Form 206H                                                      Schedule H: Your Codebtors                                    Page 2 of 4
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          Case 18-80892-CRJ11                           Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                    Desc Main
                                                              Document    Page 21 of 37
 Debtor       JIT Industries, Inc.                                                    Case number (if known)   18-80892


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     Philip Hill                       3155 Hurricane Road                         Capital One Visa                 D
                                               New Market, AL 35761                                                         E/F       3.3
                                                                                                                            G




    2.14     Philip Hill                       3155 Hurricane Road                         Alabama Department               D
                                               New Market, AL 35761                        of Revenue                       E/F       3.1
                                                                                                                            G




    2.15     Philip Hill                       3155 Hurricane Road                         Internal Revenue                 D
                                               New Market, AL 35761                        Service                          E/F       3.5
                                                                                                                            G




    2.16     Phillip Hill                      3155 Hurricane Road                         American Express                 D
                                               New Market, AL 35761                                                         E/F       3.2
                                                                                                                            G




    2.17     Phillip Hill                      3155 Hurricane Road                         Danny Overbee                    D   2.1
                                               New Market, AL 35761                                                         E/F
                                                                                                                            G




    2.18     Phillip Hill                      3155 Hurricane Road                         Rod Hill                         D   2.5
                                               New Market, AL 35761                                                         E/F
                                                                                                                            G




    2.19     Rod Hill                          3155 Hurricane Road                         American Express                 D
                                               New Market, AL 35761                                                         E/F       3.2
                                                                                                                            G




    2.20     Rod Hill                          3155 Hurricane Road                         Capital One Visa                 D
                                               New Market, AL 35761                                                         E/F       3.3
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                     Page 3 of 4
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                   Desc Main
                                                              Document    Page 22 of 37
 Debtor       JIT Industries, Inc.                                                    Case number (if known)   18-80892


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.21     Rod Hill                          3155 Hurricane Road                         Alabama Department               D
                                               New Market, AL 35761                        of Revenue                       E/F       3.1
                                                                                                                            G




    2.22     Rod Hill                          3155 Hurricane Road                         Internal Revenue                 D
                                               New Market, AL 35761                        Service                          E/F       3.5
                                                                                                                            G




    2.23     Rod Hill                          3155 Hurricane Road                         Danny Overbee                    D   2.1
                                               New Market, AL 35761                                                         E/F
                                                                                                                            G




    2.24     Rod Hill                          3155 Hurricane Road                         Phillip Hill                     D   2.4
                                               New Market, AL 35761                                                         E/F
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                     Page 4 of 4
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                   Desc Main
                                                              Document    Page 23 of 37
 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-80892
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                       $269,664.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $1,613,976.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                     $1,624,626.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2018 to Filing Date                                                           None                                                      $0.00


       For prior year:                                                                         Refund for Overpayment on
       From 1/01/2017 to 12/31/2017                                                            Insurance                                        $84,523.85


       For year before that:
       From 1/01/2016 to 12/31/2016                                                            Lawsuit Settlement                             $682,536.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                              Desc Main
                                                              Document    Page 24 of 37
 Debtor       JIT Industries, Inc.                                                                      Case number (if known) 18-80892




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               All trade creditors & taxing authorities                                                       Unknown                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other All trade creditors and
                                                                                                                                 taxing authorities having been
                                                                                                                                 paid in the ordinary course of
                                                                                                                                 business


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property

       People's Bank of Alabama                                  2201 Highway 31 South, Hartselle, AL                          9/01/17                       $565,000.00
       801 2nd Avenue SW                                         35640
       Cullman, AL 35055

       JIT Military Sales                                        10% owner of partnership                                      4/18/17                         Unknown
       26670 Success Drive
       Madison, AL 35756


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                           Desc Main
                                                              Document    Page 25 of 37
 Debtor       JIT Industries, Inc.                                                                      Case number (if known) 18-80892




           None.

               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.1.    Rod Hill, et al v. JIT                            Wantoness                 Circuit Court of Madison                Pending
               Industries, Inc., et al                                                     County, Alabama                         On appeal
               CV-2017-901539                                                              100 Northside Square
                                                                                                                                   Concluded
                                                                                           Huntsville, AL 35801

       7.2.    Phillip Hill, et al v. JIT                        Dissolution of            Circuit Court of Madison                Pending
               Industries, Inc., et al                           Partnership               County, Alabama                         On appeal
               CV-2014-902496                                                              100 Northside Square
                                                                                                                                   Concluded
                                                                                           Huntsville, AL 35801

       7.3.    American Express Bank FSB                         Collection                Circuit Court of Madison                Pending
               v. Matthew A. McComb, et al                                                 County, Alabama                         On appeal
               CV-2017-901933                                                              100 Northside Square
                                                                                                                                   Concluded
                                                                                           Huntsville, AL 35801


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None

       Custodian's name and Address                              Describe the property                                             Value
       Phillip Hill                                              Cash, inventory, & accounts receivable
                                                                                                                                                 $339,145.66
       3155 Hurricane Road
       New Market, AL 35761                                      Case title                                                        Court name and address
                                                                 Phillip Hill, et al v JIT Industries Inc                          Circuit Court of Madison
                                                                 Case number                                                       County
                                                                 CV-2014-902496                                                    100 Northside Square
                                                                 Date of order or assignment                                       Huntsville, AL 35801
                                                                 July 26, 2017

       Custodian's name and Address                              Describe the property                                             Value
       Rod Hill                                                  Cash, inventory, & accounts receivable
                                                                                                                                                 $339,145.66
       3155 Hurricane Road
       New Market, AL 35761                                      Case title                                                        Court name and address
                                                                 Phillip Hill, et al v JIT Industries Inc                          Circuit Court of Madison
                                                                 Case number                                                       County
                                                                 CV-2014-902496                                                    100 Northside Square
                                                                 Date of order or assignment                                       Huntsville, AL 35801
                                                                 July 26, 2017

       Custodian's name and Address                              Describe the property                                             Value
       Danny Overbee                                             Cash, inventory, & accounts receivable
                                                                                                                                                 $339,145.66
       c/o James Adams
       402 Moulton Street E                                      Case title                                                        Court name and address
       Decatur, AL 35601                                         Phillip Hill, et al v JIT Industries Inc                          Circuit Court of Madison
                                                                 Case number                                                       County
                                                                 CV-2014-902496                                                    100 Northside Square
                                                                 Date of order or assignment                                       Huntsville, AL 35801
                                                                 July 26, 2017


 Part 4:      Certain Gifts and Charitable Contributions



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                    Desc Main
                                                              Document    Page 26 of 37
 Debtor        JIT Industries, Inc.                                                                         Case number (if known) 18-80892



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Sparkman, Shepard & Morris,
                 PC
                 P O Box 19045
                 Huntsville, AL 35801                                                                                                                $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                       Desc Main
                                                              Document    Page 27 of 37
 Debtor        JIT Industries, Inc.                                                                     Case number (if known) 18-80892




14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     JIT Military Sales                                                                                        2009 - 2017
                 26670 Success Drive
                 Madison, AL 35756

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eplan Services, JIT Industries, Inc. 401K                                                  EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                      Desc Main
                                                              Document    Page 28 of 37
 Debtor        JIT Industries, Inc.                                                                     Case number (if known) 18-80892



                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was           Last balance
                 Address                                         account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     People's Bank of Alabama                        XXXX-                       Checking                                                Unknown
                 801 2nd Avenue SW                                                           Savings
                 Cullman, AL 35055
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     People's Bank of Alabama                        XXXX-                       Checking                                                Unknown
                 801 2nd Avenue SW                                                           Savings
                 Cullman, AL 35055                                                           Money Market
                                                                                             Brokerage
                                                                                             Other Sweep
                                                                                          Account

       18.3.     People's Bank of Alabama                        XXXX-                       Checking                                                Unknown
                 801 2nd Avenue SW                                                           Savings
                 Cullman, AL 35055                                                           Money Market
                                                                                             Brokerage
                                                                                             Other Payroll
                                                                                          Account


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                   Desc Main
                                                              Document    Page 29 of 37
 Debtor      JIT Industries, Inc.                                                                       Case number (if known) 18-80892




      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    JIT Military Sales                               Distribution                                     EIN:
             26670 Success Drive
             Madison, AL 35756                                                                                 From-To      02/09 - 04/17


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Carla Jarrett                                                                                                              05/16 - 05/17
                    Hartselle, AL 35640

       26a.2.       Brad Vest                                                                                                                  012/15 - 05/17
                    Hartselle, AL 35640

       26a.3.       Wear Howell Strickland Quin & Law                                                                                          2009 - Present
                    ATTN: Joseph Wynn
                    1323 Stratford Road SE
                    Decatur, AL 35603


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                           Desc Main
                                                              Document    Page 30 of 37
 Debtor      JIT Industries, Inc.                                                                       Case number (if known) 18-80892



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Wear Howell Strickland Quinn & Law                                                                                    2009 - Present
                    ATTN: Josephy Wynn
                    1323 Stratford Road SE
                    Decatur, AL 35603
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.2.       People's Bank of Alabama                                                                                              2010 - Present
                    801 2nd Avenue SW
                    Cullman, AL 35055
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.3.       Family Security Credit Union                                                                                          2017
                    2204 Family Security Place SW
                    Decatur, AL 35603

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Phillip Hill, Rod Hill, & Danny Overbee                                                  Hearing was set for March 22, 2018 seeking
                    c/o Kevin Heard, Esq.                                                                    order from court in case number
                    303 Williams Avenue                                                                      CV-2014-902496
                    Suite 921
                    Huntsville, AL 35801

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       People's Bank of Alabama
                    801 2nd Avenue SW
                    Cullman, AL 35055
       26d.2.       Wear Howell Strickland Quinn & Law
                    1323 Stratford Road SE
                    Decatur, AL 35601
       26d.3.       Family Security Credit Union
                    2204 Family Security Place SW
                    Decatur, AL 35603

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                     Desc Main
                                                              Document    Page 31 of 37
 Debtor      JIT Industries, Inc.                                                                       Case number (if known) 18-80892




       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ginger McComb                                  106 Lansdowne Drive                                 President                             51%
                                                      Madison, AL 35758

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Matthew McComb                                 106 Lansdowne Drive                                 Secretary                             49%
                                                      Madison, AL 35758



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Marvin Gillespie                                                                                                               Compensation -
       .    275 County Road 514                                                                                                            $15.00 hourly for
               Trinity, AL 35673                                 $1,800.00                                               08/18 - 09/18     120 hours worked

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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        Case 18-80892-CRJ11                             Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                    Desc Main
                                                              Document    Page 32 of 37
 Debtor      JIT Industries, Inc.                                                                       Case number (if known) 18-80892



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 6, 2018

 /s/ Ginger McComb                                                      Ginger McComb
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 10
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         Case 18-80892-CRJ11                            Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                   Desc Main
                                                              Document    Page 33 of 37
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      JIT Industries, Inc.                                                                                      Case No.       18-80892
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Ginger McComb                                                                        51%                                        Ownership
 106 Lansdowne Drive
 Madison, AL 35758

 Matthew McComb                                                                       49%                                        Ownership
 106 Lansdowne Drive
 Madison, AL 35758


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 6, 2018                                                          Signature /s/ Ginger McComb
                                                                                            Ginger McComb

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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         Case 18-80892-CRJ11                            Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                                         Desc Main
                                                              Document    Page 34 of 37
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      JIT Industries, Inc.                                                                    Case No.   18-80892
                                                                                   Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 6, 2018                                              /s/ Ginger McComb
                                                                        Ginger McComb/President
                                                                        Signer/Title




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         Case 18-80892-CRJ11                            Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54                 Desc Main
                                                              Document    Page 35 of 37
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Danny Overbee                             Danny Overbee                    JIT Military Sales
c/o James Adams                           c/o James Adams                  26670 Success Drive SW
402 Moulton Street E                      402 Moulton Street E             Madison, AL 35756
Decatur, AL 35601                         Decatur, AL 35601



People's Bank of Alabama                  Danny Overbee                    JIT Military Sales
801 2nd Avenue SW                         c/o James Adams                  26670 Success Road SW
Cullman, AL 35055                         402 Moulton Street E             Madison, AL 35756
                                          Decatur, AL 35601



People's Bank of Alabama                  Danny Overbee                    JIT Military Sales
d/b/a Probilling & Funding Service        c/o James Adams                  26670 Success Drive SW
P.O. Box 2222                             402 Moulton Street E             Madison, AL 35756
Decatur, AL 35609                         Decatur, AL 35601



Phillip Hill                              Danny Overbee                    Matthew McComb
3155 Hurricane Road                       c/o James Adams                  106 Lansdowne Drive
New Market, AL 35761                      402 Moulton Street E             Madison, AL 35758
                                          Decatur, AL 35601



Rod Hill                                  Danny Overbee                    People's Bank of Alabama
3155 Hurricane Road                       c/o James Adams                  801 2nd Avenue SW
New Market, AL 35761                      402 Moulton Street E             Cullman, AL 35055
                                          Decatur, AL 35601



Alabama Department of Revenue             Ginger McComb                    Philip Hill
Income Tax Division                       106 Lansdowne Drive              3155 Hurricane Road
P O Box 327460                            Madison, AL 35758                New Market, AL 35761
Montgomery, AL 36132



American Express                          Harrison Gammons & Rawlinson     Philip Hill
c/o Charles Nick Parnell III              2430 L and N Drive SW            3155 Hurricane Road
641 South Lawrence Street                 Huntsville, AL 35801             New Market, AL 35761
Montgomery, AL 36102



Capital One Visa                          Internal Revenue Service         Philip Hill
c/o Portfolio Recovery Associates, LLC    PO Box 7346                      3155 Hurricane Road
PO Box 12914                              Philadelphia, PA 19101-7346      New Market, AL 35761
Norfolk, VA 23541



Danny Overbee                             JIT Military Sales               Phillip Hill
c/o James Adams                           26670 Success Drive SW           3155 Hurricane Road
402 Moulton Street E                      Madison, AL 35756                New Market, AL 35761
Decatur, AL 35601


        Case 18-80892-CRJ11          Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54   Desc Main
                                           Document    Page 36 of 37
Phillip Hill                    G. Bartley Loftin III, Esq.
3155 Hurricane Road             Bradley Arant Boult Cummings LLP
New Market, AL 35761            200 Clinton Avenue W., Ste. 900
                                Huntsville, AL 35801



Phillip Hill                    G. Bartley Loftin III, Esq.
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                                Huntsville, AL 35801



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                                Huntsville, AL 35801



Rod Hill                        Kevin D. Heard, Esq.
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New Market, AL 35761            303 Williams Avenue, Ste. 921
                                Huntsville, AL 35801



Rod Hill                        Kevin D. Heard, Esq.
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New Market, AL 35761            303 Williams Avenue, Ste. 921
                                Huntsville, AL 35801



Rod Hill                        Kevin D. Heard, Esq.
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New Market, AL 35761            303 Williams Avenue, Ste. 921
                                Huntsville, AL 35801



Rod Hill
3155 Hurricane Road
New Market, AL 35761




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Chicago, IL 60680



     Case 18-80892-CRJ11   Doc 16 Filed 04/06/18 Entered 04/06/18 10:18:54   Desc Main
                                 Document    Page 37 of 37
